                           EXHIBIT G




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                   Percentage of Serious Reports for Suicidal and Self Injurious Behaviors(HLT) By Indication
                                                            Group

      12.00%
                                                                                                                                     Vertical bar represents the
                                             Statistical Significance                                                                date (06/30/1999) where
                                             χ2=6.60, p=0.01 (Yates)                                                                 the results are statistically
      10.00%
                                                                                                                                     significant.


      8.00%

                                                                                                                                                                                 Psychiatric %
                                                                                                                                                                                 Anti-Epileptic %
Pct




      6.00%                                                                                                                                                                      Other %
                                                                                                                                                                                 Unspecified %
                                                                                                                                                                                 All Indications %

      4.00%




      2.00%




      0.00%
                        0                0                 0                0                0                0           0                0                0                0
                   63               63                63               63               63               63          63               63               63               63
             9   40           9   50            9   60           9   70           9   80           9   90      0   00           0   10           0   20           0   30
           19               19                19               19               19               19          20               20               20               20
                                                                                                         Date




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Date               Psych Suicidal    Psych Reports  Psychiatric %           AED Suicidal
19940630                         0                0x                                        6
19950630                         0                2                 0.00%                   8
19960630                         0                2                 0.00%                  11
19970630                         0                6                 0.00%                  12
19980630                         1               26                 3.85%                  14
19990630                         4               61                 6.56%                  15
20000630                         9               99                 9.09%                  15
20010630                        13              153                 8.50%                  15
20020630                        16              228                 7.02%                  16
20030630                        21              319                 6.58%                  17




19980630                                                                         0.359417554
19990630                                                                         1.550539715
20000630                                                                         3.388723473
20010630                                                                         3.795614683
20020630                                                                         3.366615418
20030630                                                                         3.433909222




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AED Reports      Anti-Epileptic
                             Other
                                % Suicidal Other Reports          Other %     Unspecified Suicidal
           362       1.66%                1                  10        10.00%                        2
           502       1.59%                1                  43         2.33%                        2
           726       1.52%                2                 101         1.98%                        2
           872       1.38%                2                 153         1.31%                        2
           960       1.46%                2                 229         0.87%                        2
          1040       1.44%                4                 352         1.14%                        2
          1250       1.20%                7                 545         1.28%                        2
          1387       1.08%               18                 953         1.89%                        3
          1519       1.05%               26                1542         1.69%                        3
          1668       1.02%               71                2368         3.00%                        3




   19.35264874                0.410416251          47.25412525
    13.3309647                  1.4707021          22.64127837
   16.93620129                2.678992428          18.69993376
   16.26268047                2.237345706          9.045061814
   13.18415638                2.258811728          7.668532964
   12.14961911                1.363979044          3.534241514




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Unspecified Reports        UnspecifiedTotal
                                       % suicidal Total Count          All Indications %
                      24      8.33%              9               396                       2.27%
                      69      2.90%             11               616                       1.79%
                      69      2.90%             15               898                       1.67%
                      70      2.86%             16              1101                       1.45%
                      70      2.86%             19              1285                       1.48%
                      70      2.86%             25              1523                       1.64%
                      72      2.78%             33              1966                       1.68%
                      74      4.05%             49              2567                       1.91%
                      75      4.00%             61              3364                       1.81%
                      75      4.00%            112              4430                       2.53%




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